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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                Case No. 9:23-cv-80488-RLR

                                                )
   GREAT BOWERY INC.,                           )
                                                )
               Plaintiff,                       )
                                                )
         v.                                     )
                                                )
   CONSEQUENCE SOUND LLC, and                   )
   CONSEQUENCE MEDIA GROUP,                     )
                                                )
               Defendants.                      )
                                                )



     DECLARATION OF ANDERSON J. DUFF IN SUPPORT DEFENDANTS’ MOTION
                         FOR ATTORNEYS' FEES
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   I, Anderson J. Duff, state as follows:

          1.      I am an attorney of record for Defendants Consequence Sound LLC and

   Consequence Media Group (“Defendants”) in the above-captioned matter, and I am familiar with

   the relevant file, records, and pleadings.

          2.      Defendants appeared, participated in discovery, mediated the claims at issue, and

   moved for summary judgment, which was granted in Defendants’ favor.

          3.      In 2023, I billed a total of 19.5 hours working on the above-captioned matter as

   shown in the attached Exhibit A.

          4.      In 2024, I billed a total of 26.7 hours working on the above-captioned matter as

   shown in the attached Exhibit B.

          5.      I have been the lead attorney on this case since it was filed. The total time billed

   by me working on this case equals 46.2 hours.

          6.      It is my normal practice to review all invoices before they are sent to clients for

   payment so that I may make adjustments (down, never up) to ensure that the invoices sent to

   clients are fair and reasonable. I followed this practice in connection with the billing entries made

   in connection with my work for Defendants to eliminate unnecessary, duplicative, or excessive

   time, and to otherwise ensure that, in my professional judgment, all charges were appropriate. I

   also wrote off costs such as postage and fees for legal research.

          7.      I was admitted to the bar in the State of New York in 2010.

          8.      I have reviewed awards of attorneys’ fees in the Southern District of Florida and

   familiarized myself with the billing rates for attorneys who work in the District with my skill and

   experience.
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           9.      Since 2017, I have served as a partner in two small law firms specializing in

   intellectual property and media law. I have served as the managing member of Duff Law PLLC

   since February 2020.

           10.     Since 2010, I have regularly litigated in federal and state courts throughout the

   country and before the Trademark Trial and Appeal Board.

           11.     I am admitted to practice in the Commonwealth of Massachusetts and before the

   Eastern District of New York, District of Massachusetts, Northern District of Illinois, and Sixth

   Circuit. I regularly litigate intellectual property disputes in other federal districts through a pro

   hac vice admission such as the federal trademark and copyright infringement cases I have

   currently pending in the Western District of Washington. I focused on intellectual property since

   before attending law school, indeed, my interest in intellectual property law is the reason I

   decided to go to law school after trying to build a career as a journalist.

           12.     I am the co-author of IP Strategy, an intellectual property treatise published by

   Thompson Reuters.

           13.     Since the fall of 2021, I have taught as an adjunct professor at the Fordham

   University School of Law.

           14.     After reviewing the documents produced by Plaintiff during the discovery period,

   I raised the standing issue with Plaintiff’s counsel in a November 29, 2023 email. A true and

   correct copy of that email is attached hereto as Exhibit C.



   I declare under penalty of perjury that the foregoing is true and correct pursuant to 28 U.S.C. §

   1746.

   Dated: September 3, 2024                                        Respectfully submitted,
          Brooklyn, New York
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                                            By:
                                                  Anderson J. Duff
                                                  DUFF LAW PLLC
                                                  353 Ocean Avenue Ste. 4E
                                                  New York, New York 11226
                                                  (t) 646.450.3607
                                                  (e) ajd@hoganduff.com
                                                  Attorneys for Defendants
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                                    EXHIBIT A
                                  2023 Time Billed
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Date           Description                                hrs.       Billed By


               Legal research concerning plaintiff's
               relevant lawsuits against third parties;
               review documents produced by
               opposing counsel in response to our
               discovery requests; review cases cited
               by opposing counsel; correspondence
               with opposing counsel addressing
12/21/2023     fallacies in her arguments                        1.2 Anderson J. Duff
               Correspondence with opposing
               counsel concerning settlement offer
11/29/2023     and lack of standing                              0.3 Anderson J. Duff


               Review documents produced by
               Plaintiff in response to discovery
               requests; review documents produced
               by Plaintiff in previous similar case;
               legal research concerning case law on
               standing to bring lawsuit in Southern
11/8/2023      District of Florida; add notes to file            1.2 Anderson J. Duff
               Legal research concerning standing to
               bring copyright infringement lawsuits
               in Southern District of Florida;
               summarize research in
               correspondence to client with
11/8/2023      options for next steps                            2.1 Anderson J. Duff

               Review scheduling orders;
               correspondence with mediator
               concerning court mandated
               mediation procedure;
               correspondence with opposing
               counsel concerning same; draft and
               revise notice to court of our date for
               mediation as well as the identity of
               our mediator; send same to attorney
               C. Mauro and opposing counsel for
11/3/2023      review and approval for filing                    0.5 Anderson J. Duff
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               Correspondence with opposing
               counsel concerning selection of
               mediator and scheduling of mediation
               required by court; review potential
               mediators and scheduling order;
               correspondence with opposing
11/2/2023      counsel proposing mediator and dates         0.4 Anderson J. Duff
               Review correspondence from
               opposing counsel concerning
               mediation scheduling deadline;
               correspondence with local counsel
11/1/2023      concerning same                              0.2 Anderson J. Duff
               Correspondence with opposing
               counsel concerning mediation
11/1/2023      selection due to court by Friday             0.2 Anderson J. Duff
               Review document production in
               response to discovery requests sent to
               opposing counsel; legal research
               concerning whether letter signed by
               Annie Leibovitz confers standing on
10/12/2023     plaintiff to bring suit in her name          2.6 Anderson J. Duff
               Revise Initial Disclosures and First
               Requests for Production to Great
               Bowery; serve same on opposing
9/12/2023      counsel                                      0.4 Anderson J. Duff
               Phone call with client concerning
9/12/2023      local counsel's invoices                     0.4 Anderson J. Duff
               Draft initial disclosures; draft first set
               of requests for documents; send same
8/25/2023      to client for review                         1.4 Anderson J. Duff
               Correspondence with client
8/24/2023      concerning status of matters                 0.2 Anderson J. Duff
               Correspondence with local counsel
8/18/2023      concerning status of case                    0.2 Anderson J. Duff
               Phone call with opposing counsel
               discussing potential settlement and
8/16/2023      necessity for discovery                      0.4 Anderson J. Duff
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               Review correspondence from
               opposing counsel; review
               correspondence from local counsel
               concerning Court's scheduling order;
               review scheduling order; send
               scheduling order and sample licenses
               to client with suggested strategy;
               correspondence with local counsel
               responding to question concerning
7/27/2023      status                                     1.3 Anderson J. Duff
               Review correspondence from
               opposing counsel; correspondence to
               opposing counsel requesting
               representative licensing agreements
7/20/2023      promised by opposing counsel               0.2 Anderson J. Duff
               Review file in preparation for call with
               opposing counsel; phone call with
               opposing counsel concerning
               potential for settlement;
               correspondence with opposing
               counsel concerning list of third-party
               publications that published the same
7/12/2023      photographs                                0.5 Anderson J. Duff
               Review assigned judge's standing
               order concerning civil cases; review
               notes from phone call with opposing
               counsel; correspondence with client
               attaching filed Answer and
               summarizing status of settlement talks
7/12/2023      and lawsuit                                0.7 Anderson J. Duff
               Legal research in preparation for
               meeting with client to discuss
               potential settlement; review filings in
               case filed by Great Bowery in D.
               Oregon wherein Court held Great
7/12/2023      Bowery lacked standing to sue              0.9 Anderson J. Duff
               Correspondence with client
               concerning scheduled call and
7/12/2023      Plaintiff's potential lack of standing     0.2 Anderson J. Duff
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               Review correspondence from
               opposing counsel forwarded from
               client; correspondence with opposing
               counsel; correspondence with client
               concerning response to complaint;
               correspondence with local counsel
               concerning Answer; phone call with
               local counsel concerning same; draft
               and revise Answer; send Answer to
               local counsel for filing;
               correspondence with client
7/11/2023      concerning next steps                         2.7 Anderson J. Duff


               Review questions from client; review
               docket; review plaintiff's website
               regarding licensing; review complaint;
               legal research confirming industry
               standard not a defense to
               infringement in this context; review
               lawsuits filed by Plaintiff against third
               parties; correspondence with client
               summarizing findings and proposing
7/5/2023       potential settlement strategy                 0.8 Anderson J. Duff
               Correspondence with client
               concerning possibility of obtaining an
               extension of time to answer
7/5/2023       complaint                                     0.1 Anderson J. Duff
               Review hard copies of complaint and
               summons received in mail; check
               docket for any new entries;
               correspondence with client
               summarizing status and Great
6/26/2023      Bowery's deadline to serve complaint          0.4 Anderson J. Duff
               2023 Total                                  19.50
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                                     EXHIBIT B
                                   2024 Time Billed
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 Date           Description                          hrs.       Billed By
                Draft and revise declarations in
                support of motion for attorneys'
 7/15/2024      fees; legal research concerning same        1.3 Anderson J. Duff
                Correspondence with client
                concerning motion for fees;
                correspondence with attorney C.
 7/10/2024      Mauro concerning motion for fees            0.2 Anderson J. Duff




                Review order dismissing case;
                correspondence with opposing
                counsel concerning same;
                correspondence with client
                concerning same and motion for
 7/2/2024       attorneys' fees                             0.5 Anderson J. Duff
                Correspondence with client
                concerning retainer from mediator,
                summary judgment filings, and next
 6/12/2024      steps                                       0.3 Anderson J. Duff
                Draft, revise, and send memorandum
                opposing plaintiff's motion for
                summary judgment,
                counterstatement of material facts,
                and notice of sealed document to
                attorney C. Mauro for review and
 5/23/2024      filing                                      5.6 Anderson J. Duff
                Review local rules concerning filing
                of sealed documents; review court
                order granting plaintiff's motion to
                seal; draft, revise, and send notice of
                sealed filing to local counsel, C.
 5/15/2024      Mauro for review and filing                 1.5 Anderson J. Duff
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                Review research notes and outline
                concerning standing requirements in
                copyright infringement case; review
                agreements produced by Conde Nast
                and add notes to file; review
                documents produced by Plaintiff;
                draft, revise, and send mediation
                statement to mediator; draft and
                revise motion for summary
                judgment; correspondence with
 4/30/2024      client concerning same                    6.4 Anderson J. Duff
                Video conference with client to
                discuss upcoming mediation and
 4/30/2024      next steps                                0.7 Anderson J. Duff
                Review correspondence from
                opposing counsel concerning Rule
                45 subpoena to Conde Nast parent
                company; correspondence with
 3/28/2024      opposing counsel concerning same          0.2 Anderson J. Duff
                Phone call from attorney for Conde
                Nast concerning Rule 45 subpoena;
                review complaint and subpoena;
                correspondence with attorney for
 3/19/2024      Conde Nast concerning same                0.6 Anderson J. Duff
                Review correspondence from client
                concerning draft responses to
                Plaintiff's interrogatories; draft,
                revise, and send responses and
                objections to Plaintiff's requests for
                admission, interrogatories, and
                requests for production with
 3/15/2024      comments                                  2.3 Anderson J. Duff
                Draft responses and objections to
                plaintiff's interrogatories; send draft
 3/12/2024      to client                                  1 Anderson J. Duff
                Video chat with client discussing
                responses to written discovery
 3/12/2024      requests from Plaintiff and strategy      1.1 Anderson J. Duff
                Draft, revise, and serve second set of
                requests for production, first set of
                interrogatories, and first set of
                requests for admission on Plaintiff;
                draft, revise, and serve Rule 45
 3/8/2024       subpoena on Conde Nast                    3.3 Anderson J. Duff
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                Correspondence with client
                summarizing status of discovery and
                planned motion for summary
 3/7/2024       judgment                               0.2 Anderson J. Duff
                Review correspondence from
                opposing counsel; review
                agreements between third parties
                and Annie Leibovitz concerning
                relevant time period; draft outline
                for materials to seek from third
 3/6/2024       parties                                1.5 Anderson J. Duff
                Total 2024                            26.7
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                                    EXHIBIT C
                            November 2023 Correspondence
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                                                 Wednesday, July 31, 2024 at 21:09:00 Eastern Daylight Time

  Subject:       Re: Date for Mediation - Great Bowery v. Consequence - Case No. 9:23-cv-80488-RLR
  Date:          Thursday, November 30, 2023 at 11:19:09 AM Eastern Standard Time
  From:          Taryn Murray <tmurray@Higbee.law>
  To:          Anderson DuV <ajd@hoganduV.com>
  Attachments: Cascade Order.pdf


 Anderson,

 It appears you did not read the case you that you’ve cited, and frankly, your client’s oﬀer will only work
 to cool negotiations if they do not seriously reconsider their position.

 First, the court withdrew that opinion and so it has 0 relevance to this case. I have attached the Order
 from the Court in which the decision and opinion were vacated.

 Second, even if the opinion had any relevance, the court was very clear that it only applied to the
 specific images in the case. If you read the case you would have seen that the images are not included
 in the matter we are currently negotiating. The Court was very particular with its language and stated the
 artist agreement did not apply to the “Images at issue in this proceeding.” But again, it must be
 reiterated, this opinion was withdrawn and is therefore non-binding and not legal precedent for lack of
 standing.

 Third, there are court opinions that have not been withdrawn that assert the exact opposite of what you
 are arguing: Great Bowery v. Best Little Sites, No. 2:21-cv-00567-DBB-JCB, 2023 U.S. Dist. LEXIS
 77562, at *25 (D. Utah May 2, 2023) (“Trunk Archive does not assert that it was the original copyright
 owner of the Subject Images. It asserts instead that Ms. Leibovitz granted it the exclusive right to license
 the images. As such, Trunk Archive has plausibly pled that it held all six rights under Section 106.”).

 Our client will emphatically provide testimony that the images were provided to them in accordance with
 the artist agreement already produced.

 As your client would bear the burden of proof on a summary judgment motion regarding standing, you
 may want to urge your client to come up with a more realistic settlement oﬀer to get this done.

 The oﬀer is unequivocally rejected. I am authorized to counter with $164,000.

 Thank you,

 Taryn R. Murray, Esq.
 New York Bar No. 5888896
 Massachusetts Bar No. 703750
 Attorney at Law - Copyright Division
 Law Firm of Higbee & Associates
 1504 Brookhollow Dr. Suite 112
 Santa Ana, CA 92705
 tmurray@higbee.law
 Phone: (714) 617-8340

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 client information or work product. If you are not the intended recipient, or the person responsible to deliver it to
 the intended recipient, you may not use, disseminate, distribute or copy this communication. If you have received the
 message in error, please immediately notify us by reply electronic mail or by telephone and delete this original
 message. Thank you very much
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 From: Anderson DuV <ajd@hoganduV.com>
 Date: Wednesday, November 29, 2023 at 5:20 PM
 To: Taryn Murray <tmurray@Higbee.law>
 Subject: Re: Date for Mediation - Great Bowery v. Consequence - Case No. 9:23-cv-
 80488-RLR

 Taryn:

 Thank you for your email. I am authorized to oﬀer $750 to se<le this ma<er. The produced authoriza?on
 le<er purpor?ng to allow Great Bowery to act as Liebovitz’s non-exclusive agent does not confer
 standing on Great Bowery to bring this lawsuit. The District of Oregon recently considered a case
 involving the exact same le<er, which we note was signed prior to the crea?on of at least some of the
 photographs at issue in this case and therefore could not confer any rights in or to those images to Great
 Bowery, and found that Great Bowery lacked standing. Great Bowery, Inv. V. Cascade Digital Media LLC,
 2021 WL 3716654, 6:20-cv-00009-MK (D. Oregon July 15, 2021).

 Best,

 -Anderson-
 646.450.3607
 HoganDuﬀ.com
